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Ny” SHORELINE |

October 3, 2023

Mark Lionetti
7 Ravenglass Drive
Stamford, CT 06903

Dear Mark:

As a result of the termination of your employment at Shoreline Pools (the “Company”) effective
9/30/2023, please note the following:

e You will be receiving information for COBRA medical insurance coverage in connection with the
Company medical plan.

e You must immediately return any and all Company property, including computers/laptops, cell
phones, key fobs, access cards, corporate credit cards, including but not limited to your
Corporate American Express etc.

e Your access to Company network has been revoked effective immediately.

e Your company email will be revoked effective immediately.

e Your cell phone number will be removed from the Company plan effective 12:00 PM on Friday
10/6/2023. You have until then to visit a Verizon or other provider location and transfer your
number to your own account.

e The Company will no longer pay charges on the Corporate American Express card in your name.
We have confirmed with American Express that the account is tied to your SSN and the
Company is not responsible for the charges. Further you are no longer authorized to use such
card as it currently has the Company's name on it. Please return the card to us immediately.

e The Company will no longer pay the monthly charge associated with your vehicle(s).

e You are not to hold yourself out or purport to be an employee, officer, or director of the
Company, effectively immediately.

e You are not authorized to conduct business on behalf of the Company.

e Any and all other fringe benefits associated with your employment will cease effective
immediately.

David Lionetti
President
Shoreline Pools, Inc.

Cc: Daniel Kollar, Chief Operating Officer
Rich Devine, Chief Financial Officer

SALES & CONSTRUCTION 393 West Ave. Stamford, CT 06902 (203) 967-1203 www.shorelinepools.com
LICENSES: CT: HIC.0508652 / CPB.0000093/4 NJ: 13VHO2627600 Westchester: WC-02092-h89
SERVICE. CRAFTSMANSHIP. TRADITION

